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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 MEDFORD DIVISION

                                                Case No.: 1:18-cv-310
CHERYL HOLLANDER,
                                                COMPLAINT;
               Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
       vs.                                      ACT (15 U.S.C. § 1692a, et seq.);
                                                DEMAND FOR JURY TRIAL
FINANCIAL CREDIT NETWORK,


               Defendant.
                                  I. INTRODUCTION

       1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”).

                                    II. JURISDICTION

       2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.




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                                      III. PARTIES

       3.      Plaintiff, Cheryl Hollander (“Plaintiff”), is a natural person residing in

Josephine County, Oregon.

       4.      Defendant, Financial Credit Network (“Defendant”) is a corporation engaged

in the business of collecting debts by use of the mails and telephone. Defendant regularly

attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection with

the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to collect

a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways, including

the following.

       9.      Communicating or threatening to communicate credit information which is

known or which should be known to be false, including failing to report Plaintiff’s dispute

in a report to a credit bureau (§ 1692e(8)).

       10.     As a result of the aforementioned violations, Plaintiff suffered and continues

to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.


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       11.     Defendant intended to cause, by means of the actions detailed above, injuries

to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and severe

emotional distress.

       12.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       13.     To the extent Defendant’s actions, detailed above, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       15.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 U.S.C. 1692k;

       C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       D.      Costs, disbursements and reasonable attorney’s fees for all successful claims,

and any unsuccessful claims arising out of the same transaction or occurrence as the

successful claims, pursuant to 15 U.S.C. § 1692k; and,


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E.      For such other and further relief as may be just and proper.

         PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                         Dated this 19th day of February, 2018


                                             By:__s/Joshua Trigsted _____
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